        Case 2:12-cr-00004-APG-EJY      Document 357      Filed 05/08/13   Page 1 of 1



 1                          UNITED STATES DISTRICT COURT
 2
                                   DISTRICT OF NEVADA
 3                                         ***

 4   UNITED STATES OF AMERICA,       )
                                     )
 5
                     Plaintiff,      )             2:12-CR-00004-APG-GWF
 6                                   )
     v.                              )
 7                                   )
     DAVID CAMEZ,                    )
 8                                   )
 9                   Defendants.     )
     ________________________________)
10
11     ORDER DIRECTING CORRECTIONS CORPORATION OF AMERICA TO ALLOW
12
                        PARISH HESHMATI CONTACT VISITATION
13
14
     IT IS HEREBY ORDERED: That Corrections Corporation of America allow PARISH
15
16   HESHMATI to have a contact visit with David Camez.

17                    7th day of May, 2013.
           DATED this 8th
18
19
20
                                              ______________________________
21                                            Magistrate Judge
22
23
24
25
26
27
28
